   Case: 1:17-cv-06357 Document #: 128 Filed: 07/17/19 Page 1 of 3 PageID #:1045




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

NORMAN McINTOSH,                                       )
                                                       )
                         Plaintiff                     )
                 v.                                    )
                                                       )
CITY OF CHICAGO, et al.,                               )     Case No. 17 C 6357
                                                       )
                         Defendants.                   )     Judge Harry D. Leinenweber



                       AGREED MOTION TO VOLUNTARILY DISMISS


          Pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, Plaintiff Norman

McIntosh, by and through his attorneys, respectfully moves as follows.

          1.      Plaintiff hereby moves this Court to dismiss with prejudice all of Plaintiff’s

claims in this action against Defendants City of Chicago, Kathleeen Salyers, as Independent

Executor of the Estate of Kevin F. O’Brien, deceased, Joseph Patterson, John Ball, Michael

Kennedy, Joseph Stachon, Carole Frank, as Independent Administrator of the Estate of John A.

Frank, deceased, Robert Williams, Louis Vasquez, William Ogletree, Jr., and John Jarvis, and

Plaintiff further moves to dismiss all remaining claims in this action against Defendants Chester

Bach, David Evans, and Joseph Frugoli without prejudice, provided this dismissal be converted

to a dismissal with prejudice if Plaintiff does not refile his claims against Defendants Chester

Bach, David Evans, and Joseph Frugoli within six months of the entrance of the dismissal order.

          3.     Plaintiff further requests that each party bear their own costs and neither party

seek fees or any other relief or action against the other.

          4.     Defendants have no objection to this motion and agree to the terms requested

herein.


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   Case: 1:17-cv-06357 Document #: 128 Filed: 07/17/19 Page 2 of 3 PageID #:1046




         WHEREFORE, Plaintiff respectfully request that the Court: 1) dismiss with prejudice

Plaintiff’s claims in this action against the City of Chicago, Kathleeen Salyers, as Independent

Executor of the Estate of Kevin F. O’Brien, deceased, Joseph Patterson, John Ball, Michael

Kennedy, Joseph Stachon, Carole Frank, as Independent Administrator of the Estate of John A.

Frank, deceased, Robert Williams, Louis Vasquez, William Ogletree, Jr., and John Jarvis; 2)

Dismiss without prejudice Plaintiff’s claims in this action against Defendants Chester Bach,

David Evans, and Joseph Frugoli, provided this dismissal be converted to a dismissal with

prejudice if Plaintiff does not refile his claims against Defendants Chester Bach, David Evans,

and Joseph Frugoli within six months of the entrance of the dismissal order, and 3) that each

party bear their own costs, and neither party to seek fees or any other relief or action against the

other.


Dated: July 17, 2019


                                                              Respectfully Submitted,

                                                              Norman McIntosh,

                                                              By: /s/ Omavi Shukur

                                                              Steve Art
                                                              Arthur Loevy
                                                              Jon Loevy
                                                              Omavi Shukur
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   Case: 1:17-cv-06357 Document #: 128 Filed: 07/17/19 Page 3 of 3 PageID #:1047




                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on July 17, 2019, he filed the foregoing

Agree Motion to Dismiss Plaintiff’s Claims Against Defendants using the Court’s CM-ECF

system, which effected service on all counsel of record.

                                                                                s/ Omavi Shukur
                                                                      One of Plaintiff’s Attorneys
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